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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                 SOUTHEASTERN DIVISION

CARA ELLISON,                                     )
                                                  )
           Plaintiff,                             )
                                                  )
      v.                                          )           Case No. 1:22CV162 ACL
                                                  )
BRANDON FRIEDLANDER, et al.,                      )
                                                  )
           Defendants.                            )

                                MEMORANDUM AND ORDER


       This case arises from a motor vehicle accident in which Plaintiff alleges that she

sustained injuries due to Defendants’ negligence. Presently pending is Defendants’ Motion in

Limine to Exclude Evidence Related to Fault and Subsequent Remedial Measures. (Doc. 79.)

       Defendants argue that the Court should exclude “all evidence, testimony, and reference

during any part of the trial process…irrelevant evidence related to fault for the underlying motor

vehicle accident, and subsequent remedial measures involving Defendant Brandon Friedlander

following the subject accident.” (Doc. 79 at p. 1.) Defendants state that they have admitted

fault. Specifically, Defendants have admitted that Defendant Friedlander “was negligent in the

operation of his motor vehicle at the time of the subject accident in that he failed to keep a

careful lookout.” Id. Defendants note that Plaintiff only alleges vicarious liability against

Defendant Bennett Truck Transport, LLC (“Bennett”) and presents no claims for direct

negligence against Bennett.

       Plaintiff responds that Defendants’ Motion should be denied because: (1) Defendants

have not made an unqualified admission of liability, (2) Plaintiff has the right to present to the

jury competent and relevant evidence to show the circumstances of liability, and (3) Defendants’

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own expert witness, Dr. Anthony Crawford, relies on facts of liability to come to his conclusions.

                                                  Discussion

        Defendants argue that under Missouri law, once an employer has admitted respondeat

superior liability—as Defendant Bennett has in this matter—it is improper to allow a plaintiff to

proceed against the employer on any other theory of imputed liability. Defendants rely

principally on McHaffie ex rel. McHaffie v. Bunch, 891 S.W.2d 822 (Mo. 1995).

        Under the McHaffie rule, “once an employer has admitted respondeat superior liability

for a driver’s negligence, it is improper to allow a plaintiff to proceed against the employer on

any other theory of imputed liability.” McHaffie, 891 S.W.2d at 826. In other words, “McHaffie

prohibits a plaintiff from going to the jury on multiple alternative theories of imputed liability.”

Coomer v. Kansas City Royals Baseball Corp., 437 S.W.3d 184, 206 (Mo. banc 2014).

        In McHaffie, a plaintiff injured in an accident sued the driver of a vehicle and the driver’s

employer, alleging a claim of negligence against the driver, a claim of vicarious liability against

the employer, and claims of negligent hiring and supervision against the employer. Id. at 824.

The Missouri Supreme Court held that “once the agency relationship was admitted, it was error

to permit a separate assessment of fault to defendant [employer] based upon the ‘negligent

entrustment’ or ‘negligent hiring’ theories of liability”; it also held that it was error to admit

evidence on those theories. Id. at 827. The Court provided the following rationale:

        If all of the theories for attaching liability to one person for the negligence of
        another were recognized and all pleaded in one case where the imputation of
        negligence is admitted, the evidence laboriously submitted to establish other
        theories serves no real purpose. The energy and time of courts and litigants is
        unnecessarily expended. In addition, potentially inflammatory evidence comes
        into the record which is irrelevant to any contested issue in the case. Once
        vicarious liability for negligence is admitted under respondeat superior, the person
        to whom negligence is imputed becomes strictly liable to the third party for
        damages attributable to the conduct of the person from whom negligence is
        imputed. The liability of the employer is fixed by the amount of liability of the

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        employee. This is true regardless of the “percentage of fault” as between the party
        whose negligence directly caused the injury and the one whose liability for
        negligence is derivative.

Id. at 826 (internal citations omitted).

        Plaintiff agues that McHaffie is distinguishable in that the plaintiff was asserting multiple

theories of derivative liability against the employer. Where agency already been established and

the imputation of negligence against the employer was admitted, the additional evidence

submitted to impute liability against the employer served no purpose. Here, Plaintiff concedes

that Defendant Bennett’s liability is purely derived from the negligence of its agent, Defendant

Friedlander. Plaintiff is not attempting to assert multiple theories of liability against Defendant

Bennett. Instead, Plaintiff argues that she is entitled to present her claims against Defendant

Friedlander for his negligence. The undersigned agrees.

        The general rule in Missouri as to a judicial admission was stated in Ruppel v. Clayes, 72

S.W.2d 833, 835 (ST.L.D.1934): “[a] party is not required to accept a judicial admission of his

adversary, but may insist on proving the fact.” (internal quotation and citation omitted).

“Phrased another way, a ‘party bearing the burden of proof is not bound to a party’s admission.’”

Cogdill v. Flanagan ex rel. Larson, 410 S.W.3d 714, 723 (Mo. Ct. App. 2013). Instead, the

party bearing the burden of proof “may elect to present evidence to prove the issue at jury trial.”

Id.

        Defendants did not admit all the specific grounds of liability alleged in Plaintiff’s

Complaint. Plaintiff alleges that Defendant Friedlander failed to keep a careful lookout, failed to

exercise the highest degree of care while operating a motor vehicle, failed to keep his vehicle

entirely within a single lane, and attempted to overtake a vehicle when it was not safe to do so.




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She additionally alleges liability under a theory of negligence per se based on Friedlander’s

failure to comply with Missouri traffic laws.

         During the pre-trial conference, Defendants were granted leave without objection to

amend their Answer to make a full admission of fault. In response, Plaintiff agreed that no

reference will be made to violations of hours-of-service regulations or Mr. Friedlander’s cell

phone records unless Mr. Friedlander opens the door, or to Defendant Bennett’s subsequent

remedial measures. Additionally, Plaintiff has indicated in her Response that she does not

object to the exclusion of evidence pertaining to driver training offered by Defendant Bennett,

nor to evidence of whether Defendant Friedlander participated in such training.

         Even so, “a plaintiff has the right to introduce evidence relevant to the issue of liability”

and the right “to present to the jury, in his own way, competent and relevant evidence to show all

the circumstances attending [to] the accident.” Kenney v. Myers, 674 S.W.3d 139, 145 (Mo. Ct.

App. 2023) (emphasis in original) (quoting Ruppel, 72 S.W.2d at 835).

         Further, as Plaintiff points out, Defendants’ biomechanical expert, Dr. Anthony

Crawford, relies on facts pertaining to liability to come to his conclusions. For example, he

describes Plaintiff’s movement as “minimal” during the impact between the vehicles and

estimates the speeds of the parties’ vehicles. Plaintiff accurately notes that the respective speeds

and movements of the vehicles, as well as the result of the impact on Plaintiff’s movement

within the vehicle, bear on the biomechanical analysis of the parties’ experts and Mr.

Friedlander’s credibility, which is relevant.

         The Court finds that Plaintiff may present evidence of liability for the reasons set out

above.

         Accordingly,



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       IT IS HEREBY ORDERED that Defendants’ Motion in Limine to Exclude Evidence

Related to Fault and Subsequent Remedial Measures (Doc. 79) is granted in part and denied

in part as set out in this Memorandum and Order.




                                           /s/ Abbie Crites-Leoni
                                           ABBIE CRITES-LEONI
                                           UNITED STATES MAGISTRATE JUDGE

Dated this 23rd day of January, 2025.




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